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1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    MATTHEW C. BOCKMON, #161566
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, CA 95814
4    Tel: 916-498-5700/Fax 916-498-5710
5    Attorney for Defendant
     STACEY MISTLER
6
7
8                                  IN THE UNITED STATES DISTRICT COURT
9                               FOR THE EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,                              ) Case No. 2:13-cr-165 TLN
11                                                          )
                      Plaintiff,                            ) STIPULATION AND ORDER CONTINUING
12                                                          ) STATUS CONFERENCE
            vs.                                             )
13                                                          ) Date: December 18, 2014
     STACEY MISTLER,                                        ) Time: 9:30 a.m.
14                                                          ) Judge: Hon. Troy L. Nunley
                      Defendant.                            )
15                                                          )
                                                            )
16
             The United States of America, by and through Olusere Olowoyeye, Assistant United
17
     States Attorney, together with the defendant, Stacey Mistler, through Matthew C. Bockmon,
18
     Assistant Federal Defender, agree to vacate the change of plea date of October 2, 2014 and set it
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     for December 18, 2014 at 9:30 a.m. for the following reason:
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             The reason for the request is to allow defense counsel to review the proposed plea
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     agreement with the defendant in preparation for her change of plea.
22
             The parties agree that the Court should exclude time from computation under the Speedy
23
     Trial Act, pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv) and Local Code T4, due to the need to
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     provide defense counsel with the reasonable time to prepare, and that the ends of justice to be
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     served by granting the continuance outweigh the best interests of the public and the defendant in
26
     a speedy trial. The exclusion of time is from September 29, 2014 until December 18, 2014.
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      Stipulation and Order to Continue Status Conference                   U.S. v. Mistler, et al., 2:13-cr-165 TLN
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                                                              Respectfully submitted,
2
3    Dated: December 18, 2014                                 HEATHER E. WILLIAMS
                                                              Federal Defender
4
5                                                             /s/ MATTHEW C. BOCKMON
                                                              MATTHEW C. BOCKMON
6                                                             Assistant Federal Defender
7                                                             Attorney for Defendant
                                                              STACEY MISTLER
8
9    Dated: December 18, 2014                                 BENJAMIN B. WAGNER
                                                              United States Attorney
10
11                                                            /s/ Matthew C. Bockmon for
                                                              OLUSERE OLOWOYEYE
12                                                            Assistant U.S. Attorney
                                                              Attorney for Plaintiff
13
14
                                                            ORDER
15
             Based on the reasons set forth in the stipulation of the parties filed on September 29,
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     2014, and good cause appearing therefrom, the Court adopts the stipulation of the parties in its
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     entirety. IT IS HEREBY ORDERED that the change of plea currently set for Thursday, October
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     2, 2014, be vacated and set for Thursday, December 18, 2014, at 9:30 a.m. The Court finds that
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     the ends of justice to be served by granting a continuance outweigh the best interests of the
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     public and the defendants in a speedy trial. Accordingly, IT IS HEREBY ORDERED that, for
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     the reasons stated in the parties’ September 29, 2014 stipulation, the time within which the trial
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     of this matter must be commenced under the Speedy Trial Act is excluded during the time period
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     of September 29, 2014, through and including December 18, 2014, pursuant to 18 U.S.C.
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     §3161(h)(7)(A) and (B)(iv) and Local Code T4.
25
     Dated: October 2, 2014
26
27
                                                            Troy L. Nunley
28                                                          United States District Judge
      Stipulation and Order to Continue Status Conference                           U.S. v. Mistler, et al., 2:13-cr-165 TLN
